                    Case 01-01139-AMC            Doc 22766-25    Filed 08/13/09   Page 1 of 5
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    .Expert Report by Dr. Alan C. Whitehouse               85                                   5/16/09
     Asbestos/ClientlBankruptcylWhiteho~se Expert Report
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       Expert Report by Dr. Alan C. Whitehouse               86                                  5/16/09
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                  Case 01-01139-AMC             Doc 22766-25   Filed 08/13/09   Page 4 of 5


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